CAPE 456 VP BEE es pory en, $ Fre Gd Oefe8/24 Page 1 of *
Western Dis} ril cf oP N ep York

Lepron 4 Beiley
Pant pp

- A duns - "Posuaal U.S.C. : 1443
Cuse Ho, 2B-CNV- Fx

Su Perinben Sen J. Wo\eo}t

EN NM; ;
Moher \ Ady dual CAPA Li Cs,

PA. ms. west
rn Wer sa div; dual capacihes;
peat.oP Secu hy 6. RaezKows Kz
AW Ws tn dividual cy PAC; Lies}
Cand)
OY Mees Tohn DOES

—_

EN Wer zadvidugl cara ties
Casey 35 ve00843, jt G* “POFUMGent 5 Cy Filed OR/AB/AY » Page 2 of 11

TKS $5 an “elon oy CNA, Seeks n
dedend and Peoyeel Vhe « “ign Hoa nt
Uniled shes. 7 his NNO S5 brbug
Wibhh 1210) = 200-7 \y
27 Use. §$ i33\,

cH andor dewnages 16
ted by Ve ¢onsti Lesh ‘on oV 7 The
nt pursuant do Yau. s. C.§ 1493 ay

iy Couct ) MAS Burcigs dle, ON Oya: | Whe ation 9) Sursvunk Le
293 (4) and aagl.

De ONG

Porbies Jo Ths Aclwn:

A.) Plaa\s0V's i moemalsoa; .

Nume L&Roo deailey, is Pres

Present Place oY 4 IN CO Cem Lian:

Weinde Arter ever Hoal Eyes); Hy

Ne Wwende! Rd. Je et
M\ den, Nv. vote ie

}-}) 64
3.) Dedeadyn \ 5 Ve mat,

hon
De Pen Aten | A

0.4.5 FT wolep th

OV rug POSkon, Ss UPer niencden {

Address; A Wea of
De den dun! No. dl MS. week
0 Yi cas poohons PA. Nucse Ad ms
A Adress 3 M\\iéa CoP
Deven dun} No 3? G. Race kows Kt

0 WMseal POSHEA. Depk Supertrakenc ef | Dur Security
Ad dvess 2 AVtg oF
Oe PeadenS nod:

9 YY: Cél PoShOa :
OO Adresss

oon Dee

CH cree ben a od): ( r(S)
Myr op.

(a)
Case 1:23-cv-00822-JLS Document5 Filed 05/28/24 Page 3of11

slate ment 0! Chain Relevant lo he ~Armence d

LomanuinS The Att rou Herein:
LAU. 5. C.A.5 1452 Jo ob urn reve? Pom de pevut

on oP os conshtubons.
5) Theauniled shubes cons ito On, adn

Slale laws and SMibofes, lo Prolee
Bs brary Powers 4? unvene i
Wire MOlaved When Sv
Plan \y Dp a ce

Os at bey ny

ivi York F
§ LwiW Me York Ae hi@les) Fedoa an
L3ZeNS Can.
“oN ast, de Privealion s 0) Govern rent
VA Unlyy fyi Vrrabmen\ \
. \
Pers slen cen} J. Waleg\t Dea) g
{ UN CA rn ( (3) H's 0 366
+ bo Vane \
Plog js 9P 99 Wshory \

a
he;

6 equa! and Mae obs,

, 410 rsa d baek Jo

wots Grey

oa Onces Pye A: S25 AL Luo responee)

Y Ot los es Wny ‘ eae

bu, . Oh "SG NN Y, Mareading 6 doa) ya lige LA
NG Se Zores also(¢ OY cive 16

CO mm diy ee aN ached oe

ia} As Cy2ib oan)
b) S$. UY. Jy 4

WANG Kp Ci eve.

leer; Orivande

J 33, 200) (mohan fo J

2 Vesoneds a.
4 ein po.

(3)
Case 1:23-cv-00822-JLS Document5 Filed 05/28/24 Page 4of11

LAV AWic Su Pee: \ Veal o>
. yErIA enden v Wolcebl ane De | of . ~ /
owed «Mh . Dephyas eeucity E. Ruezkoursk
towed jh Adminshralyy “ts medy iy NY E. Rosez KousKx
~ MEME MOX® Leg

Remain hy \
® housed sa AGngerous Cel) loch nS

Peres \S us
n Closer | ont loca

YAS ive \
Wao Vhe DanhsD0 Lg

) wilh ov eg -
\} A W\)s \ mer gency Cay bullons/
18 5)

Point a

D eerivahan oY he Grgnt Amen dime at \)

_ rove .
- bur Leen\\ A men 4 wal 0? \ he

Ainent

3 rhe Uni bed shu hes Eight tind FourleenYn Ameadin HAmend) ao we as
New Wark Aelhyele nd See hioas which éA\ Shales wibhin Whe J
IE : ipnyd e Jury

he Yas iSdichon a!
th Unibed Shen les And ifs laws A hian a!
re

Four \ een,
Veen Yh Amen J men} Sha bes’ "A
Uailed shales « -

bovad 4e Poitou, Lugs cle p

» Vee s Vhe
Personas \ge

e Where) 5 \},
ny
law Which Shay

Ym Mn: Os 6}
MUN} Lie ; c
hies oP \y, Cihizens 4 0 ile Wye Privile aes >
. oY \he ua; led SI Aes Or
be? erve “nad o¢ b i © Sake: No, Sha iI
O Deron t\o ye Muy 6 fa
lo. OF \y ve, \' her), 3 ° hte

op law
Protec bon o¥ he Jaw.

(4)
Case 1:23-cv-00822-JLS Document5 Filed 05/28/24
yThe vu nile Asha\es SUD re me ('
Prolechoo 9 P likerdy

Fhe Sadividual va\eesh

Page 5 of 11

bu} has hoy d Khat Pre dye

DvO hess Clases
NOVY des CiLarn Prvaey

,

N OAVGS dya¢ \ts é) i Alodia g
me ducal yea J WEHOSU-6 oP Prose medi
ubmeat and eace) op 2° malls Ea depo
Ay {+ DAF?
me hcg C] w hen Plan}: OD |

36 rH D At fa
I ught me co) eri arhyn
3 €M ov ees yp — d dey)
04s Ce mbosusly denied praghs DD. aval y Morse
Lyeul men} D be CA Se 2 OUS me \ ‘JT Ag duare me diver |

Ia Need, i010 6S He
us GS hele v.G,
U.S Gq Sch ars, 200 €d.ag 27101477) Sel
rule d "
Khay Dew ec he rnd Perenae )
Needs oP Pr:

ONES Cons): 4 |

“| : > Consbi tubes Lhe uy. OC

io Miyelion oY Pato,,, Preser\\e \ ° ne ce ary cond Wants 0
rn | Ahe hi

: y 2

C4, Lo *) lhe ¥ Mnenclirn hoy <.
EAN SF G14, U8 OS 153, rns Al see
Kd 24 ¥54Cigng)

IS.) The Aye Pra ce

e, Yad
The SUP) re me tdr-\

0 & Sévybus me diva l

S$ Cluse oP Ly, igh

Fish tb Dro Leeds 1) " Ae A eacloven|
breabmens bi Plaats M 4 Hoi ash Ar
yo ‘\ sha fe o | Diais.a WIS Gheny.t
Kneuwn js Sul, shy AS Peet o) |
5 \ STA NEVE Due Pp
PU Shan bive Due Pp
Fu ey
S4T

hats }Wwd¢A) , ne lions
Li drary wind un Yar!

he Jy LY Amen cl rent is
DES S |

O CPs yr h ks . oy
lihy Supe; neler | vd . Weer’ Vidlated Wher AL]
|Special 5. B6 abl on]

a, lowed Duals PP lo su) Pe. )
© SW Jen rant U0 Per
hus Pevdyd lo cel

Hk CO creel OA I
Ide Ph. 6  S esurily C. 0ez Kou —
OM & SEF 05 }AQuy ‘sd
HP (see Muy cepyet al) J
12K) Lo

lL baken nse
titdhed Gy; Lif " 3") Dna lt
Dun; PI S¥i05 Me didal Nve

ed,

)
Case 1:23-cv-00822-JLS Document5 Filed 05/28/24 Page 6of11

Porat 23

De PriNhion 0 ade qual

Ic e My AIC
4 MV er ence LO Se¢! rect

l ley j
OVS Me Aimat Need Novak eh hak

( b.) MS. we s| hus 4

(wi Ince relued |o address Plant DP re

Ins es) oA out
+60 Dae Hey o
do CS Oey ret,

U~ Or ayy ques |G) Com levy p.
being hvued dy _

nh : hae N i

sate “9 N A ravshy My (yj) lOtes on hat
: 1&5 ha \'s 4 Wy p Om hoy \

MNO re Mag O ) :

I Ne ‘ cr;
Jeanne was Diy, 4

rough Matas Aston Adm

j .
5 Wa 4

Man \s )0 Sé
»TY OO @y CS
NO re Sol \ 4 Je

AU Se 15 ly

° € NSUre a

, y p \y de ) rVed 0 \\ Ve (j becky a

YS Yuy é MW} TP \) ee mS ory
DUN hs 2 EMS asprek oF Ve jybhy,

PW bess, 7 he 9]

moDehy
len dment
J OP Vady Vwis
2 fy i ijk |

O ) G ye Arendmpns \i lu bien ;

Ay an vide vale

an

(v)
(3) The Second requirement Dec Procedural
that yhe my AVal §

he Planhi Pha P ws hel

Case 1:23-cv-00822-JLS _Document5 Filed 05/28/24 Page 7 of11

Vu ) i An dl MWe

die Poteet Process Claim 1s

5A dmingley ViOo soken dis) Jo cle Drive

\ Cy dJor Hy Vo 1a \ reat, When dhe Dai led
LO OCW NGW dye Vne se Pou, :

Need Bb and Des)

sade hy by

1X) \aey Cel
Plaats $2 ayes

(lise ry ™ nat

Phe Plants Pd

in fu rhe
Al) Sin de

CH ee An J

P2300 Auvl\,

L renkrnen ,"

Nob rT

lOCaN One

i0n bus a

fin

OT;

rd 10 Mecomme cate plant PP)

Pqvireng 1) Pluce Mant: PP '™ Cel jacal
WS eMeeAeme :
\ mee Deney Cu MI Lu bhons) pa ds in Cells.

MAT he \yird requirement Por Procedure
Ae drive d Wis Medica Ly eal
Vs CAr leva) cd 14 A\

4 OY \Wo

taht wis) e qual Orosech An dor degeival in oP Vhe

Sa Mun gf
YC We bea

0 im ANd eee Boe penal po
“N00 “4 Cra 4

Prisoners p

COu\s huve de Mae

ness oP ho Wishore of Mant PP re chvel

WW} n4 Condidwn Aan d

iOndés) What

I due Process ts Vhat Lhe Plant: DP was
ment And COA @ \serauy }

a7 he Plan {: p p has \
HOLE Por over a \

lo ZO Y)
ALS “An al shi VY? Ma ins iucate ol
\ fo

What Way 1UKe sly 0) on Mor 9

any |, Pdival sin0P Vs.
"J M/A bmeegtories sTaPP 3a wach
20:) Ana th & \n ove 1

IN) BS A % # ry A He L

Pin} PDs
10 a hE

9 Clave" | Phe GUA peo lve ian CMvse peal: hits
VION She Plan\, DD» COlar —

POO ¢. Din: b ')o Cr eed As

Fas ime g ?

I {i 2uU pes 3
ea claws CF r@S5 Lhaw Priivious
not 6\
|

Venton Whey own me a)

Cl Servlees, Ihe do nstitolen
i¢5, Jo Provi de hoy with"

FPSO 1 \she

. a dequa \, medical
al CA a e4 vu

pe Ye dey ‘t
J Oeeep \\. VAN se ewiees" sen,
\ , Pla Je Loih), Prudent Deg \, Vide
wl} SWS 0 0¢ rel os

MO nel Shan |

fi
ics yn a
a. ’ a
4ned 1G m4 of TO} ye ne emery ene

J

' Abty- cl

Ramps VL ame 634 Fad esq s WM ioes.
(7)
ile: [aa\ Page FP DS nag So

a\a he 5u CEP RGU AES ol REPAM ENA Rileg 9g/e8/ re
43] ‘a af ical N46 ly oY tA
Whnlgn 4 ode hoo oY Pen
EX Ce Ss\— ben
Cruel and VavdSLy|
d 0\\ bere he ined
Due

Pasones Consluses Vhe un neg SEIN and

rO3C¢ oe by \he Gb Anon dent as Doioeos?
Sha fl oot Le required , N08 R¥O eSSIVE !)

MS i npsed, ay,
Punish nents in Plicle d, Couvss Nave Also Ex pphied Lhe
Merence Sandeecl 1O Pre-brat dedeanees incly jhe
Process eluuse.,

23.) de Yen dara tis) Supecinlencdea t J WOley HH De ph of Security 6 Raez YUL,
PA. Av vse West Ane Nn Doe, A \ bce ef eal Pp 16
)
Su DDe, Dam WS} A QUrUS ON Lhe rngrniye of JUne 154? 9623
4 J
we ile Novy el 1 F384 oy On C- bide COM
Deleon n f

lo 9 V5 eens) Jy,

Pang 1? Pax HW) 30) 46 Ay|
Ss) Were del; le ca ‘ely in ds Doral lo Vhe Phin}: pp S epi

\; i)

Conds \iga/ Ne al (5) an \ Ven Vat AM eas A

shy 29. Wee Dy

dmin. us ve]
. IIs) AWA ce o P ands 9D Me ida ron; |
re furslee \) fA~

if Ar evan ée) lo Le MlVeel
I.) Covel; haye hej d Wak
We\s, Whteh Aye

DUS yme chica |
AS medive|
10-65) W \on it was
UO Clove. Woi\h he] P On Ha Hors)

POD rg Lee XU wh

, Des 0) MAN Genge Orn | 044 hident
~ C10 Se | at ern ok LOM:
May Hdd wo Jo adop: vel M "h Prisioo Me dice | shal’)
J ee BP IO Veli ora he nA rinee, 626 (
3 YA SY

(¥)
Case 1:23-cv-00822-JLS Document5 Filed 05/28/24 Page 9of11

oie? sy Lhe Ml
Povey lhe A Moon | 0 Py 000, 0066 00
t i 1,

Se pe, WS¢ Marg

Unde

C4)
Case 1:23-cv-00822-JLS Document5 Filed 05/28/24 Page10of11

AYO, dvai4 O ) s Orville

AYD, dvu:} O ) Serviée

 Ofving | - Clon No, 23 $3.2.

The slate g )) ew Yor TH d. No. Oiye- DP \ 3
County go) (rie

Row Baily being duly supers depos
Le ; 4) CAN Seo , de poses and Says Zam over
Wwe Or ue oP 1% and cPsde owen de Chrc. Fat. On ij-j7- ay
L Served wibnio Axon d rnenk Cova Plain
NeW Yor\ by cechi ied mol Na
Var oe .

Povloung ON Adress:

}

upon Lye AM 909 Cre neat a? Vhe stale of

pceluen ree eso} requested Al Yhe

Department oP Law Capito)
Bus di nq A\ ‘anny Mal. 2.9.94

Sid tA dd.
155 hema ing
addeess desscaate-
in Av OPP Al ogy NY OF Bre wide v0 a DSI Pas d peg STD Purpose
5}. “e yA 4 0s +0 "y vn des Ly ? ‘a qe Praperdy A dd
Sales PUSIAL 5 ecu): SX NINE Care mn da
oS ayia ‘he otal cArE and Cvabid

eh en. ) OF Whe valet.
DP Boeing 8 YT ee

FD 5e

CS S¢ d Weng 0a c

SWI A Lo hedore Me yng JT dan of Apo\

WOT He \ Publi¢.

i

GRIFFEY
Wotery Public, State of New York
Qualified in Erle Co. No. O1GR0018560
My Commission Expires December 12, 2027

(jo)
COTRECTIONAL. FACILITY
30 WENDE RD., PO BOX 1187
ALDEN, NY 14004-1187

repan Beuley ys)
Mg "y ° 3 ep eee
4 : NAME ay
0: 12-0 -F4L
8 United sta has courNnpuse

a MOO Fs de

a

B flo Mala | Ao 2.

Alsi). @our\ bem

Case 1:23-cv-00822-JLS Document 5

